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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


ABBY MARTIN,
                                          Civil Action No. 1:20-cv-00596-MHC
      Plaintiff,                          Hon. Judge Mark H. Cohen

v.

STEVE WRIGLEY, Chancellor for
the Board of Regents of the Univer-
sity System of Georgia, in his official
capacity, et al.,

      Defendants.




BRIEF IN OPPOSITION OF DEFENDANTS’ MOTION TO DISMISS
         PLAINTIFF’S FIRST AMENDED COMPLAINT
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                              INTRODUCTION

      From the colonial boycotts on British tea hundreds of years ago to the

present, boycotts organized to bring about political change have always occu-

pied hallowed grounds in our history. The Civil Rights Movement relied heav-

ily on boycotts to combat racism and spur societal change. Cesar Chavez led

the United Farm Workers grape boycott that from 1965-1970 brought millions

of Americans together to win better working conditions and labor recognition.

The Anti-Apartheid Movement in this country helped catalyze opposition to

Apartheid South Africa across the globe.

      And our jurisprudence reflects the fundamental importance of boycotts.

The Supreme Court long ago recognized that boycotts intended to advance civil

rights constitute “form[s] of speech or conduct that [are] ordinarily entitled to

protection under the First and Fourteenth Amendments.” NAACP v. Claiborne

Hardware Co., 458 U.S. 886 (1982). It is this seminal case that controls the

outcome here.

      Abby Martin is a prominent journalist whose job and First Amendment

rights permit her to criticize state-sanctioned oppression. Like every other

American, Martin has that constitutional right to boycott and protest violence,

whether by abstaining from economically supporting oppressive regimes or

speaking out against their crimes. By extension of her work, she frequently




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expresses views critical of the Israeli government, primarily by supporting the

Boycott, Divestment, and Sanctions movement.

      In 2019, Martin released her documentary film, Gaza Fights for Free-

dom, during which she calls on viewers to support the BDS movement, a call

intended to limit commercial relations with Israel. Before Georgia and more

than two dozen other states passed laws to specifically suppress this viewpoint,

her decision to exercise her rights in this manner triggered no legal disability.

In the aftermath of these statutes, Abby Martin and countless others are now

coerced by law into abandoning their political beliefs and signing certifications

demanding they disavow their political beliefs.

      Asking the Court to overlook this context, Defendants contend that

O.C.G.A. § 50-5-85, (the “Anti-BDS Law”), still allows “anyone who contracts

with the State [to] continue to speak out about Israel or even advocate for a

boycott by others,” (Dkt. 37-1, at 3). Yet the same law requires anyone doing

business with the state of Georgia for an amount over $1,000 certify they do

not and will not “engage in, a boycott of Israel.” O.C.G.A. § 50-5-85(b).

      The Anti-BDS Law is exactly the kind of majoritarian overreach the

First Amendment was written to prevent. Its certification requirement both

restricts and compels speech, each of which the First Amendment expressly

prohibits. This Court should deny Defendants’ motion and vindicate Martin’s

rights.


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                         FACTUAL ALLEGATIONS

      Georgia Southern University invited Martin to be the keynote speaker

at a critical literary conference but conditioned its invitation on her agreeing

in writing to abandon her First Amendment-protected journalism about and

political advocacy for the rights of Palestinians, and to stop boycotting Israel.

Dkt. 26, at pp. 2. Defendants conditioned Martin’s invitation on her signing,

rejecting, and disavowing participation in the inherently expressive activity of

a boycott against Israel. Id., at ¶¶ 5-8.

      In 2016, Georgia’s Governor enacted the Anti-BDS Law as SB 327, codi-

fied as O.C.G.A. § 50-5-85. The Anti-BDS Law forbids all state government

bodies from contracting with anyone who advocates for Palestinian human

rights by economically boycotting Israel, unless they agree in writing to aban-

don this point of view. Id., at ¶¶ 28-33. The Anti-BDS Law punishes people,

including Martin, by disqualifying them from entering into Georgia contracts

unless they promise not to engage in expressive activity that undermines Is-

rael’s economic interests by boycotting or supporting boycotts against Israel.

Id., at ¶¶ 53-56. The Anti-BDS Law, along with its counterparts in 27 states,

codifies a form of speaker-based discrimination and viewpoint that unlawfully

restricts fundamental First Amendment rights. Id., at ¶¶ 61-65, 73-76.

      Martin brings claims under 42 U.S.C. § 1983 for violations of the First

and Fourteenth Amendments. Id., at ¶¶ 57-86, 89-95. She is seeking injunctive


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     relief that would preclude Defendants from applying the Anti-BDS Law in

     state contracts. Id., at ¶¶ 87-88, pp. 25-26. Further, Martin seeks an injunction

     to declare the no-boycott certification in all existing state contracts between

     the State and any private contractor as void, and a ruling that the Anti-BDS

     Law is unconstitutional. Id., at pp. 25-26. Martin also seeks damages against

     the Individual Defendants. Id.

                                      ARGUMENT

I.         The Anti-BDS Law is a speech and expressive conduct regula-
           tion in violation of the First Amendment.

           “Congress shall make no law … abridging the freedom of speech, or of

     the press; or the right of the people peaceably to assemble, and to petition the

     Government for a redress of grievances.” U.S. Const. Amend. I. Here, Georgia

     has passed the Anti-BDS Law, which restricts speech and inherently expres-

     sive conduct.

           The law on its face, and as it is applied to Martin and others contracting

     with Georgia, constitutes viewpoint discrimination because it only bars speech

     and expression critical of Israel and its actions, and not speech or expression

     in favor of Israel or against Palestine. It also constitutes viewpoint discrimina-

     tion because it bars the expressive conduct of boycotting Israel if that boycott

     conduct is done for a political reason. Yet, a refusal to do business with Israeli

     entities undertaken for non-expressive reasons are outside the purview of the




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Anti-BDS Law. And the Anti-BDS Law also establishes content-specific re-

strictions on certain speech—and only speech that boycotts Israel. Government

contractors that advocate for Palestine and the human rights of Palestinians

by economically boycotting Israel are prohibited from contracting with Georgia

or its entities. That is an impermissible State attempt to impose conditions on

independent contractors that they limit their speech and protected associa-

tional activity.

      It also compels speech related to a government contractors’ political be-

liefs, associations, and expressions insofar as the Anti-BDS Law, were Martin

to comply with it, would require her to stop boycotting Israel, abandon her po-

litical beliefs, and limit her advocacy, which reaches both her professional ca-

reer and life as a private citizen.

      To speak at the Georgia Southern University literary conference, Martin

was required to sign a contract pledging that she would cease engagement in

an inherently expressive activity, specifically political and economic boycotts

of Israel and businesses that tacitly support its crimes against the Palestinian

people. Because she refused to sign that pledge, she was not permitted to speak

at the conference. Both as it is stated and how it is applied, the Anti-BDS Law

bars state contractors from entering into government contracts on the basis of

one viewpoint and its associated conduct.




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            A.    Martin’s boycott is constitutionally protected under
                  Claiborne.

      This case is controlled by NAACP v. Claiborne Hardware Co., 458 U.S.

886 (1982), which makes clear that the Anti-BDS Law violates the First

Amendment. In Claiborne, a group of black activists in Mississippi voted to

boycott white merchants in opposition to those businesses’ racist practices. 458

U.S at 889, 907. The activists then monitored their community’s patronage of

the stores, picketing the storefronts and urging people to shop elsewhere. Id.

at 894, 907. As boycotts go, the one in Claiborne was aggressive.

      The Supreme Court’s decision was not ambiguous: Claiborne unani-

mously held that each peaceful “elemen[t] of the boycott is a form of speech or

conduct” entitled to protection under the First Amendment. Id. at 907. “The

black citizens … in this action banded together and collectively expressed their

dissatisfaction with a social structure that had denied them rights to equal

treatment and respect.” Id. The Defendants attempt to disaggregate the ele-

ments that form a First Amendment protected boycott to suggest that a boycott

is not a protected political activity. See, e.g., Dkt. 37-1 at 10. Defendants also

seek to atomize the individuals who collectively take action in a boycott to sug-

gest that an individual’s peaceful withdrawal of patronage has no meaning as

a First Amendment protected act unless accompanied by explanatory words

from an individual to the public at a moment of consumer decision. See, e.g.,



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id. at 9. This is a misreading of Claiborne, the nature and impact of collective

expression, and how the First Amendment protects that expression.

        In the last few years, three different federal courts have relied on

Claiborne to conclude that politically-motivated boycotts of Israel are fully pro-

tected expressive activity, enjoining similar laws to the Anti-BDS Law here.

“Plaintiffs’ BDS boycotts are not only inherently expressive, but as a form of

expression on a public issue, rest on the highest rung of the hierarchy of First

Amendment values.” Amawi v. Pflugerville Indep. Sch. Dist., 373 F. Supp. 3d

717, 745 (W.D. Tex. 2019) (cleaned up), vacated as moot, 956 F.3d 816 (5th Cir.

2020). “Collective boycotting activities undertaken to achieve social, political

or economic ends is conduct that is protected by the First Amendment.” Jor-

dahl v. Brnovich, 336 F. Supp. 3d 1016, 1041 (D. Ariz. 2018), vacated as moot,

789 F. App’x 589 (9th Cir. 2020). Such protests seek to band individuals to-

gether “to express, collectively, their dissatisfaction with Israel and to influ-

ence governmental action…[They] and others participating in this boycott of

Israel seek to amplify their voices to influence change, as did the boycotters in

Claiborne. Koontz v. Watson, 283 F. Supp. 3d 1007 (D. Kan. 2018). The same

result from Amawi, Jordahl and Koontz applies here.1




1
 A third district court case, Arkansas Times LP v. Waldrip, 362 F. Supp. 3d. 617 (E.D. Ark. 2019) (on appeal),
upheld an Anti-BDS Law, but that case was wrongly decided for the reasons explained in Section E, below.


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            B.    Claiborne, not FAIR, applies.

      As explained by the District Courts in Amawi, Jordahl, and Koontz, the

First Amendment issues presented in this case are controlled by the ruling in

NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982), and not Rumsfeld v.

FAIR, 547 U.S. 47 (2006).

      As the District Court in Amawi correctly explained, “Claiborne deals

with political boycotts; FAIR, in contrast, is not about boycotts at all.” 373 F.

Supp. 3d at 743. In FAIR, “[t]he Supreme Court did not treat the FAIR plain-

tiffs’ conduct as a boycott: the word ‘boycott’ appears nowhere in the opinion,

the decision to withhold patronage is not implicated, and Claiborne, the key

decision recognizing that the First Amendment protects political boycotts, is

not discussed.” Id. (footnote omitted).

      Also, in FAIR, “‘[t]he conduct regulated by the Solomon Amendment,’ the

Court held, ‘is not inherently expressive’ because it requires ‘explanatory

speech’ to communicate its message.” Id. In FAIR, the Government did not care

why it was not being granted access to on-campus student interviews. 546 U.S.

at 57 (“The Solomon Amendment does not focus on the content of a school's

recruiting policy” but instead “looks to the result achieved by the policy and

compares the ‘access ... provided’ military recruiters to that provided other re-

cruiters”). Here, the Anti-BDS Law only cares about “refusals to deal with, ter-

minating business activities with, or other actions that are intended to limit


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commercial relations with Israel” when the reason is because of a “boycott of

Israel” (or some “[non-]valid business reason”). O.C.G.A. § 50-5-85(a). In order

to impose Georgia’s viewpoint on Israel, Georgia requires certification creating

the very speech that was absent and detached from FAIR as a necessary part

of the Court’s conclusion. Compare O.C.G.A. § 50-5-85(b) (requiring certifica-

tion) with FAIR, 547 U.S. at 66 (refusal to provide military recruiters access

was “expressive only because the law schools accompanied their conduct with

speech explaining it”); see Jordahl, 336 F. Supp. 3d at 1042 (“when a statute

requires a company, in exchange for a government contract, to promise to re-

frain from engaging in certain actions that are taken in response to larger calls

to action that the state opposes, the state is infringing on the very kind of ex-

pressive conduct at issue in Claiborne.”).

      FAIR omits Claiborne, along with other important First Amendment

cases like FTC v. Superior Court Trial Lawyers Association, 493 U.S. 411, 415-

16 (1990) and International Longshoreman’s Association v. Allied Interna-

tional, Inc., 456 U.S. 212 (1982). When the Supreme Court overrules or distin-

guishes prior decisions, it does so expressly. That is not what the Supreme

Court did here, and its unanimous, narrow decision in FAIR cannot be read to

have abrogated decades of prior boycott-specific law covertly and sans dissent.

      Defendants argue that Claiborne distinguished between protected mes-

saging and an unprotected boycott. Dkt. 37-1 at 9-10 and 15-17. Claiborne


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rejected this argument explicitly, and instead held that the Government was

prohibited from punishing the boycott alone. 458 U.S. at 911 (the “boycott

clearly involved constitutionally protected activity,” and its speech elements,

“though not identical, are inseparable”); see also Ft. Lauderdale Food Not

Bombs v. City of Ft. Lauderdale, 901 F.3d 1235, 1241 (11th Cir. 2018) (“the

circumstances surrounding an event often help set the dividing line between

activity that is sufficiently expressive and similar activity that is not”) (holding

that feeding homeless as part of political movement was constitutionally-pro-

tected expressive activity) (cited by Georgia, Dkt. 37-1 at 9-10).

      To this end, Claiborne controls over Longshoreman as well. As explained

by Claiborne itself, Longshoreman is cabined to the labor space because it held

that a government may bar secondary boycotts “by labor unions . . . as part of

Congress’ striking of the delicate balance between union freedom of expression

and the ability of neutral employers, employees, and consumers to remain free

from coerced participation in industrial strife.” 458 U.S. at 912 (cleaned up).

No such delicate balance is created by the Anti-BDS Law here.

            C.     The text of Georgia’s Anti-BDS Law makes clear that
                   speech is a necessary component of the conduct it
                   prohibits.

      All anti-BDS laws are unconstitutional, but Georgia’s Anti-BDS Law ap-

pears almost to have been drafted to make it clear that it is unconstitutional.

The law, in its definition of “Boycott of Israel,” makes two separate defined


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actions illegal. The language of both prove the Anti-BDS Law’s unconstitution-

ality.

         First, “refusals to deal with, terminating business activities with, or

other actions that are intended to limit commercial relations with Israel or

individuals or companies doing business in Israel or in Israeli-controlled terri-

tories, when such actions are taken [i]n compliance or adherence to calls for a

boycott of Israel,” is illegal. In other words, a refusal to deal or other conduct

is illegal, but only when it is specifically part of a larger call to action. This is

the inverse of FAIR. See Section B, above.

         Second, “refusals to deal” and similar conduct violate the Anti-BDS Law

“when such actions are taken … [i]n a manner that discriminates on the basis

of nationality, national origin, religion, or other unreasonable basis that is not

founded on a valid business reason.” But what is a valid business reason? The

law is silent. Is a decision not to engage in business because one finds it uneth-

ical a “valid business reason”? Then Martin’s conduct satisfies the exception.

Or does it only apply when the decision not to engage is profit maximizing?

And if so, is it only when the Israeli company is directly more expensive to do

business with, or does that include the possible loss in revenue from being




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targeted by BDS secondary boycotts?2 Further illustrating the intentional at-

tack on speech and expression rather than conduct, Georgia suggests that

“valid business reason” means reasons other than a “boycott.” Dkt. 37-1 at 22

n.9.

         For these reasons, the law is both vague and overbroad as explained in

Sections III-IV below. But it is not a mere coincidence that every anti-BDS law

suffers from vagueness and overbreadth. See, e.g., Amawi, 373 F. Supp. 3d at

752, 755-58. It again is a result of the core conduct that these states want to

punish. Georgia only wants to punish actions when they are inextricably inter-

twined with speech that these states want to silence. It is for this reason that

Georgia requires a certification that no advocate of a boycott of Israel could

possibly sign. Amawi, 373 F. Supp. 3d at 754-55; Jordahl, 336 F. Supp. 3d at

1032-33; Koontz, 283 F. Supp. 3d at 1024; see also Section II, below.

         It is for these reasons, despite Georgia attempting to argue otherwise

(e.g., at 26), that Claiborne said that the speech and non-speech elements of a



2
  This is not a mere hypothetical. Texas has applied its anti-BDS law to Airbnb, who refused to list properties in
certain Israeli-controlled territories in the West Bank. Airbnb may have been doing so to comply with another
government entity’s legal requirements, because the refusal is part of a broader anti-discrimination policy, or in
order to avoid international commercial boycotts of Airbnb by third parties. Indeed, in announcing its refusal to
list properties, Airbnb stated “Airbnb does not support the BDS movement, any boycott of Israel, or any boycott
of Israeli companies.” Although Airbnb relented without a legal challenge, the situation illustrates the vagueness
issues. See generally Elizabeth Findell, In pro-Israel move, Texas books boycott of Airbnb, AUSTIN AMERICAN
STATESMAN (Mar. 11, 2019), available at https://www.statesman.com/news/20190311/in-pro-israel-move-
texas-books-boycott-of-airbnb; Amanda McCaffrey, Airbnb’s Listings in Disputed Territories: A Tortured Compro-
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boycott “though not identical, are inseparable,” and therefore governments

cannot punish participation in a boycott. 458 U.S. at 911; see also R.A.V. v. City

of St. Paul, Minn., 505 U.S. 377, 388 (1992) (government cannot prohibit un-

protected conduct if it only does so on the basis of protected speech or view-

points).

      The Georgia statute, in particular, could not make this any clearer. Alt-

hough it defines the term “boycott,” it describes the certification requirement

as “a written certification that such individual or company is not currently en-

gaged in, and agrees for the duration of the contract not to engage in, a boycott

of Israel.” It uses the term boycott instead of a mere “refusal” or other language

because the law targets the boycott itself, and not a mere decision not to pur-

chase some good or service. As the elements of the boycott are inseparable,

Georgia knows a certification requirement targeting any element of the boycott

will prohibit all of the elements of the boycott. And Georgia knows that anyone

engaged in BDS boycotts cannot sign the certification in question. Georgia

barely deigns to hide its goal of restricting political speech.

            D.     The Anti-BDS Law burdens speech and does not fur-
                   ther a substantial state interest.

      The Anti-BDS Law targets specific content and one viewpoint. Whether

contractors may participate in political boycotts about the Middle East depends

entirely upon whether their boycott is critical of Israel, as opposed to any other



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government, company, or cause. Martin remains free, for example, to econom-

ically boycott Palestine. She is also free to economically boycott Saudi Arabia

and Iraq. She also remains free to boycott any domestic state, company, or

cause (so long as it is not part of a larger boycott of Israel). The Anti-BDS Law

only targets anti-Israel boycotts, which makes the Anti-BDS Law impermissi-

bly content-based. See Boos v. Barry, 485 U.S. 312, 319 (1988) (“Whether indi-

viduals may picket in front of a foreign embassy depends entirely upon

whether their picket signs are critical of the foreign government or not.”).

      In general, content-neutral antidiscrimination laws may incidentally

regulate expressive conduct because they are narrowly tailored to serve a com-

pelling state interest. See Roberts v. U.S. Jaycees, 468 U.S. 609, 623-24 (1984);

but see Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557,

573 (1995) (even neutral antidiscrimination law may not prohibit certain ex-

pressive conduct). To be tailored to meet a compelling state interest, the anti-

discrimination law must “not aim at the suppression of speech, [must] not dis-

tinguish between prohibited and permitted activity on the basis of viewpoint,

and [must] not license enforcement authorities to administer the statute on the

basis of such constitutionally impermissible criteria.” Jaycees, 468 U.S. at 623.

      Because the Anti-BDS Law “distinguish[es] between prohibited and per-

mitted activity on the basis of viewpoint,” it fails muster under Jaycees. See

Invisible Empire of the KKK v. Thurmont, 700 F. Supp. 281, 288 (D. Md. 1988)


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(anti-discrimination law was neither “content-neutral” nor narrowly-tailored);

Bd. of Ancient Order of Hibernians v. Dinkins, 814 F. Supp. 358, 368 (S.D.N.Y.

1993) (similar); see R.A.V., 505 U.S. at 395 (existence of content-neutral alter-

natives “undercuts significantly” the constitutional viability of a statute).

      Georgia’s claim that the Anti-BDS Law is “neutral” because “[i]t applies

to refusals to deal with Israel-related entities regardless of the viewpoint mo-

tivating the boycott,” Dkt. 37-1 at 22, is a legal fiction—it is simply not congru-

ent with the First Amendment meaning of “neutral.” And, in any event, it fails

the straight-face test. Georgia’s Anti-BDS Law targets the BDS movement over

the occupation, rather than boycotts of Israel because of, say, a disagreement

with countries who have white and blue flags.

      Likewise, Georgia’s argument (at 21-24) that the law is subject to and

survives intermediate scrutiny under United States v. O’Brien, 391 U.S. 367,

383-84 (1968) does not hold water. O’Brien requires Georgia show, among other

things, that “the governmental interest is unrelated to the suppression of free

expression.” 391 U.S. at 377. As explained in particular in Section C above, the

suppression of free expression is the only purpose of the Anti-BDS Law. See

Koontz, 283 F. Supp. 3d at 1023 (“conduct the Kansas Law aims to regulate is

inherently expressive,” under Claiborne).

      Georgia’s reliance on FAIR in making its O’Brien argument is inappro-

priate as explained above in Section B. FAIR was a decision on very narrowly-


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defined conduct—that a law school must provide physical access for military

recruiters. 547 U.S. at 58. Once a law school facilitated that access, “[t]he Sol-

omon Amendment [would] neither limit what law schools may say nor require

them to say anything.” Id. at 60. The Supreme Court specifically acknowledged

that law schools remained free to engage in other protest activities, including

distributing dissenting bulletins or protesting outside the military recruiters’

doors. And the Supreme Court in FAIR averted any legal dissection of the

school’s speech or viewpoints on LGBT discrimination in the military. FAIR,

as limited to narrow conduct, involved an “incidental” burden on speech, which

triggers at most intermediate scrutiny. 547 U.S. at 67 (quoting United States

v. Albertini, 472 U.S. 675, 689 (1985)). Under the test relied on by FAIR, an

incidental burden on speech will be upheld if “the governmental interest is un-

related to the suppression of free expression,” see O’Brien, 391 U.S. 367; FAIR,

547 U.S. at 65-67. The Georgia statute creates an entirely different situation.

      In fact, Georgia’s interest—stated as effectuating U.S. foreign policy

goals—is in itself suppressing speech against Israel and conduct associated

with boycotting as a form of expression. The Anti-BDS Law is not content-neu-

tral, nor is it viewpoint-neutral. It aims to prohibit expressive speech criticiz-

ing Israel as a prerequisite to contracting with Georgia. And so, Georgia’s

speech restriction is anything but incidental.




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            E.     Arkansas Times was wrongly decided.

      Arkansas Times is wrongly decided for the same reasons that Longshore-

men and FAIR should be rejected. Arkansas Times reaches its primary holding

that an anti-Israel-boycott prohibition does not regulate expressive conduct by

distinguishing speech in support of a boycott (which Arkansas Times claims is

protected) from the act of boycotting itself (which Arkansas Times claims is

not). Claiborne specifically rejects this distinction.

      What is more, Arkansas Times’s reliance on FAIR is problematic because

it argues that “[i]t is highly unlikely that, absent any explanatory speech, an

external observer would ever notice that a contractor is engaging in a primary

or secondary boycott of Israel.” 362 F. Supp. 3d at 624. In this case, the speech

is compelled by the Anti-BDS Law itself and embodied in the “No Boycott of

Israel” certification requirement. See Jordahl, 336 F. Supp. 3d at 1042 (requir-

ing a “promise to refrain from engaging in certain actions that are taken in

response to larger calls to action that the state opposes” is “infringing on the

very kind of expressive conduct at issue in Claiborne”).

            F.     Longshoreman and Briggs do not apply.

      Georgia also seeks refuge from the First Amendment in Longshoreman

and Briggs. Briggs & Stratton Corp. v. Baldrige, 728 F.2d 915 (7th Cir. 1984).

But, as explained by Claiborne itself, Longshoreman is cabined to the labor

context, holding that a government may bar secondary boycotts “by labor


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      unions . . . as part of Congress’ striking of the delicate balance between union

      freedom of expression and the ability of neutral employers, employees, and

      consumers to remain free from coerced participation in industrial strife.” 458

      U.S. at 912 (internal quotation marks and citation omitted). And “Briggs is

      even less relevant.” Amawi, 373 F. Supp. 3d at 746. Briggs “did not involve a

      law allegedly infringing the right to boycott, and the speech allegedly infringed

      was not political speech.” Id.

            According to Georgia, the NAACP and their members in Claiborne could

      advocate for a boycott of white merchants, but they had no right to refuse to

      visit their stores or purchase their merchandise. 458 U.S. at 900, 911; see Dkt.

      37-1 at 15-17. And so, according to Oklahoma, Mississippi, and Claiborne

      County could have required the NAACP’s members to certify that they would

      not boycott racially discriminatory businesses. But see Koontz, 283 F. Supp. 3d

      at 1024 (“Forcing plaintiff to disown her boycott is akin to forcing plaintiff to

      accommodate Kansas’s message of support for Israel”). Since any result block-

      ing that NAACP activism would be wrong under Claiborne itself, Texas must

      be wrong as well.

II.         The Anti-BDS Law is unconstitutional compelled speech.

            “The First Amendment protects the right of individuals to hold a point

      of view different from the majority and to refuse to foster … an idea they find

      morally objectionable.” Wooley v. Maynard, 430 U.S. 705, 715 (1977).


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      The Anti-BDS Law unconstitutionally compels Martin and others and to

certify that they will not boycott Israel. This loyalty oath to Israel specifically

violates what the Supreme Court has called a “fixed star in our constitutional

constellation.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

It does so by “prescrib[ing] what shall be orthodox in politics” and forcing Mar-

tin to sign a loyalty oath compelling her “to confess by word or act [her] faith”

in that pro-Israel orthodoxy. See id.

      The government is constitutionally prohibited from requiring contrac-

tors to pledge allegiance to its preferred policies. Agency for Int’l Dev. v. All. for

Open Soc’y Int’l, Inc., 570 U.S. 205, 220–21 (2013). State governments cannot

condition employment “on an oath that one has not engaged, or will not engage,

in protected speech activities.” Cole v. Richardson, 405 U.S. 676, 680 (1972)

(collecting cases). Even if FAIR could otherwise justify the Anti-BDS Law be-

cause it prohibits conduct that lacks a speech component, see Section I(B),

above, the Anti-BDS Law separately requires that speech component from Ali

and others. The result compels the very speech that reveals the Governor’s

viewpoint-based ban on expressive conduct and makes the Executive Order

unconstitutional.

      Georgia makes three arguments (at 13-14) why the Anti-BDS Law does

not unconstitutionally compel speech. Georgia’s first argument is that the cer-

tification that Martin will not “boycott Israel” is permissible because it only


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relates to unprotected conduct. That is wrong for the reasons explained above

in Section I, as well as in Koontz. 283 F. Supp. 3d at 1024 (“Forcing plaintiff to

disown her boycott is akin to forcing plaintiff to accommodate Kansas’s mes-

sage of support for Israel”). Georgia’s second argument is that compelled

speech is okay when made a condition of a government contract. This is wrong

as explained in Open Society, 570 U.S. at 220–21, and Section V, below. And

the third is that a similar speech restriction was permitted in FAIR. This is

false. The only compelled speech at issue in FAIR was “compelled statements

of fact” where “schools may send e-mails or post notices on bulletin boards on

an employer's behalf” such as “[t]he U.S. Army recruiter will meet interested

students in Room 123 at 11 a.m.” 547 U.S. at 61-62. No certification was re-

quired—indeed, the lack of any accompanying speech about permitting or not

permitting government recruiters was essential to the Court’s holding. See

§ I(B), above; see also FAIR, 547 U.S. at 56 (Solomon Amendment “does not call

for an inquiry into why”).

III.   The Anti-BDS Law is unconstitutionally vague

       Laws are unconstitutionally vague where “[someone] of common intelli-

gence must necessarily guess at [their] meaning.” Coates v. Cincinnati, 402

U.S. 611, 614 (1971). “Where a statute’s literal scope, unaided by a narrowing

state court interpretation, is capable of reaching expression sheltered by the

First Amendment, the doctrine demands a greater degree of specificity than in


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other contexts.” Smith v. Goguen, 415 U.S. 566, 573 (1974); see also NAACP v.

Button, 371 U.S. 415, 432 (1963) (“standards of permissible statutory vague-

ness are strict in the area of free expression”).

      The Anti-BDS Law defines a “boycott of Israel” as “engaging in refusals

to deal with, terminating business activities with, or other actions that are in-

tended to limit commercial relations with Israel or individuals or companies

doing business in Israel or in Israeli-controlled territories, when such actions

are taken…in compliance or adherence to calls for a boycott of Israel…[or] in a

manner that discriminates on the basis of nationality, national origin, religion,

or other unreasonable basis that is not founded on a valid business reason.”

O.C.G.A. § 50-5-85(a).

      Several of these clauses are impossibly vague.

      First, the “other actions that are intended to limit commercial relations

with Israel” provision is impermissibly vague. As explained by the Court in

Amawi striking a similar provision, “For example, donating to a Palestinian

organization, purchasing art at a Gaza liberation fair, donating to an organi-

zation like Jewish Voice for Peace that organizes BDS campaigns, or picketing

outside Best Buy to urge shoppers not to buy HP products because of the com-

pany’s relationship with the IDF—all these activities may be seen as ‘taking

any action that is intended to penalize, inflict harm on, or limit commercial

relations specifically with Israel,’ though none would typically be considered a


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‘boycott.’” 373 F. Supp. 3d at 756 (striking down Texas’s anti-BDS law as im-

permissibly vague). So too here.

      Second, the “other unreasonable basis” provision is also impermissibly

vague. What is “unreasonable” is not defined by the law in any way and thus

the law attempts to penalize “unreasonable” conduct. This has long been es-

tablished as impermissible. Prohibiting “unreasonable” conduct “leaves open,

therefore, the widest conceivable inquiry, the scope of which no one can foresee

and the result of which no one can foreshadow or adequately guard against.

U.S. v. L. Cohen Grocery Co., 255 U.S. 81, 89 (1921).

      Third, “valid business reason” carve-out is even more vague than the

similar “ordinary business purposes” carve-out struck down in Amawi. Given

the vagueness of the carve-out provision, “[t]he statute offers no guidance to

those who must enforce it or those who must comply with its dictates” as to

what reasons are appropriate for declining to enter into any transaction with

almost any company. 373 F. Supp. 3d at. at 757.

      Georgia (at 31-32) defends the Anti-BDS Law’s vagueness by relying on

Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

494-95 (1982), which states that certain statutes may only be deemed vague

when the “enactment is impermissibly vague in all of its applications.” But, in

a footnote to that statement, the Supreme Court indicated that this only ap-

plies to “vagueness challenges to statutes which do not involve First


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Amendment freedoms.” Id. at 495 n.7. Georgia implies (at 37) that the Elev-

enth Circuit has extended Hoffman Estates to the First amendment context

anyway in Stardust, 3007 LLC v. City of Brookhaven, 899 F.3d 1164 (11th Cir.

2018), but the Court in Stardust merely found the First Amendment connec-

tion too “trivial” and focused solely on due process, not First Amendment,

vagueness. Georgia itself requires resorting to ephemeral canons of construc-

tion when interpreting the statute. Dkt. 37-1 at 11-12 (asking the Court to in-

terpret the statute narrowly in order to avoid First Amendment problems); see

Virginia v. American Booksellers Association, 484 U.S. 383, 397 (1988) (court

should “not rewrite a state law to conform it to constitutional requirements”);

U.S. v. Natl. Dairy Products Corp., 372 U.S. 29, 36 (1963) (explaining that

canon of construction to avoid constitutional concerns is limited in the First

Amendment context “because such vagueness may in itself deter constitution-

ally protected and socially desirable conduct”).

      Otherwise, Georgia’s defense of the statute yet again only further high-

lights its unconstitutionality. Georgia says (at 33) the law applies to a decision

to limit one’s “commercial conduct with Israel or Israel-related businesses”

when that limiting is done as part of a “boycott” as that term is commonly un-

derstood. That is not what the Anti-BDS Law says.

      And even if Georgia were right that this was what the law does, it would

be unconstitutional because it would define impermissible conduct purely by


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the speech that accompanied the conduct. Under Georgia’s limited interpreta-

tion of the law, the law still specifically targets conduct only when it is a form

of political expression protected by the First Amendment, and will not prohibit

the exact same conduct so long as it is not intended to express or amplify a

message, work in collective First Amendment associational action, or seek a

political change. The exact same underlying activity identified in the statute

is allowed so long as it is devoid of political expression and intent. Thus, the

statute discriminates between identical conduct based on the intent and view-

point of the individual or company. See § I(B), above (explaining why Claiborne

and not FAIR applies); see also R.A.V., 505 U.S. at 388 (government cannot

prohibit unprotected conduct if it only does so on the basis of protected speech

or viewpoints).

      And thus, it readily extends to any activity done in response to the Boy-

cott, Divestment, and Sanctions movement. The vagueness of the statute and

its “Boycott of Israel” definition operates to chills free speech, expression, and

association.

      But the law on its face does more. The law does not apply to mere actions

that themselves limit commercial contract because, on its face, it also applies

to “other actions that are intended to limit commercial relations with Israel,”

which is not on its face limited to commercial activity itself. This is especially

so when the law restricts actions intending to “limit commercial relations with


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Israel,” as opposed to any particularly defined company, corporation, or group

of companies or corporations. And the law does not apply just to actions taken

in compliance with a call to boycott Israel, as it is applied to other discrimina-

tory or “unreasonable” conduct, whatever that means, unless there is a “valid

business reason,” whatever that means.

      At the end of the day, the statute does not provide any guidance other

than stating that it is improper to take some unspecified actions against some

unspecified companies, but only when those actions are taken as part of a con-

stitutionally-protected boycott or when they are “unreasonable” and not for a

“valid business reason.” This is too vague and too broad to withstand constitu-

tional scrutiny.

IV.   The Anti-BDS Law is overbroad.

      Even if the Anti-BDS Law was not unconstitutionally vague, and even if

it were permissible to segregate and punish non-purchasing as part of a boycott

from the greater boycott itself, the boycott is overbroad and targets protected

forms of conduct such as association, soliciting, picketing, and other forms of

advocacy.

      A law “may be invalidated as overbroad if ‘a substantial number of its

applications are unconstitutional, judged in relation to the statute’s plainly le-

gitimate sweep.’” U.S. v. Stevens, 130 S. Ct. 1577, 1588 (2010) (quoting Wash-

ington State Grange v. Washington State Republican Party, 552 U. S. 442, 449,


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n. 6 (2008). When a statute raising First Amendment concerns is overbroad, a

plaintiff may challenge it, “‘not because [plaintiff’s] own rights of free expres-

sion are violated, but because of a judicial prediction or assumption that the

statute’s very existence may cause others not before the court to refrain from

constitutionally protected speech or expression.’” Broadrick v. Oklahoma, 413

U.S. 601, 612 (1973). The doctrine is closely related to vagueness doctrine.

Hoffman Estates, 455 U.S. at 494.

      In determining whether a statute is overbroad and thus facially invalid,

courts must determine whether it “prohibits a substantial amount of protected

speech.” United States v. Williams, 553 U.S. 285, 292 (2008). The determina-

tion involves “[striking] a balance between competing social costs.” Id. (citing

Virginia v. Hicks, 539 U.S. 113, 119–120 (2003)). It would obviously be harmful

if a statute that was constitutional in some of its applications was struck down,

but that is not the case here. Instead, the social cost and threat posed by the

enforcement of O.C.G.A. § 50-5-85 “deters people from engaging in constitu-

tionally protected speech” and inhibits “the free exchange of ideas.” Id.

      The “other actions that are intended to limit commercial relations with

Israel” provision is overbroad for much the same reasons it is vague. As Amawi

noted, the language would cover protected conduct ranging from “donating to

a Palestinian organization, purchasing art at a Gaza liberation fair, donating

to an organization like Jewish Voice for Peace that organizes BDS campaigns,


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     or picketing outside Best Buy to urge shoppers not to buy HP products because

     of the company’s relationship with the IDF.” 373 F. Supp. 3d at 756 (striking

     down Texas’s anti-BDS law as impermissibly vague). Indeed, “other actions” is

     open-ended, limited only by the imagination of the state. This is not the “req-

     uisite narrow specificity” required by First Amendment overbreadth doctrine.

     Dombrowski v. Pfister, 380 U.S. 479, 486 (1965). And while Georgia attempts

     to limit the meaning of the statute, overbreadth doctrine, by its very nature

     “cannot be avoided by a narrowing construction.” Hill v. Houston, 764 F.2d

     1156, 1165 (5th Cir. 1985).

           For the same reason, “other unreasonable basis” is likewise overbroad.

     Nor can it be saved by the inherently vague carve-out for “valid business rea-

     sons.” See also Section III, above.

V.         Georgia cannot impose unconstitutional conditions on con-
           tracts.

           The government is constitutionally prohibited from requiring contrac-

     tors to pledge allegiance to its preferred policies. Open Society, 570 U.S. at 220-

     21. State governments cannot condition contracting with the Government “on

     an oath that one has not engaged, or will not engage, in protected speech ac-

     tivities.” Cole v. Richardson, 405 U.S. 676, 680 (1972) (collecting cases).

           Georgia claims the First Amendment does not apply to the Government

     “subsidizing” individuals when it acts as a proprietor rather than a regulator,



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where the Government has “greater leeway” in contracting. Dkt. 37-1 at 28.

The Supreme Court rejected that argument in Wabaunsee County v. Umbehr,

518 U.S. 668 (1996). Umbehr held that the First Amendment applies in full to

government contracting decisions, with the only distinction being that courts

may consider the Government’s particular proprietary “interests” in perform-

ing the relevant balancing test. Id. at 678-79.

      Most of the Georgia’s cases are about subsidies, not contracts. Georgia’s

only case that is about Government contracting is O’Hare Truck Serv., Inc. v.

City of Northlake, 518 U.S. 712 (1996), decided on the same day as Umbehr.

That case does state that, in many respects, “[t]he Constitution accords gov-

ernment officials a large measure of freedom as they exercise the discretion

inherent in making those decisions.” (Dkt. 37-1 at 27-28 (quoting O’Hare, 518

U.S. at 724-25). But, had Georgia read the whole opinion, it would have found

that the discretion does not generally apply in the First Amendment context,

as “it does not follow that this discretion can be exercised to impose conditions

on expressing, or not expressing, specific political views.” Id. at 725-26. So, the

Court in O’Hare “decline[d] to draw a line excluding independent contractors

from the First Amendment safeguards of political association afforded to em-

ployees.” Id. So too here.

      Georgia complains (at 29) that “the leeway accorded states when acting

as contractors (and not as pure regulators) should be at least as broad as that


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of the federal government exercising its spending power through legislation.”

The Supreme Court has found the opposite in Umbehr. See Wabaunsee County

v. Umbehr, 518 U.S. 668 (1996). While the Supreme Court’s balancing makes

more sense than Georgia’s anyway—there is a far greater concern on chilling

speech when the Government prohibits individuals for competing on generally-

available contracts and benefits than when it merely decides to subsidize one

message over an other—it would control even if it were less persuasive.

      Finally, even if the Court ignored the government contracting cases and

applied general spending cases such as Rust v. Sullivan, 500 U.S. 173 (1991),

see Dkt. 37-1 at 29, it would make no difference. Jordahl, 336 F. Supp.3d at

1046 n.9. This is because those cases themselves make a distinction between

the government funding specific activity that constitutes speech, which is per-

mitted, and the government declining to subsidizing entities because of other

speech, which remains unconstitutional. See Open Society, 570 U.S. at 206

(“The distinction that has emerged from this Court’s cases is between condi-

tions that define the limits of the Government spending program—those that

specify the activities Congress wants to subsidize—and conditions that seek to

leverage funding to regulate speech outside the contours of the federal program

itself.”). Because the Anti-BDS Law prohibits Martin from boycotting Israel

even outside the government contract, the latter rule controls, and the Anti-

BDS Law is unconstitutional.


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VI.           The First Amendment violation is clearly established.

              The Individual Defendants are not entitled to qualified immunity. Geor-

      gia claims qualified immunity only on the basis that any constitutional viola-

      tion was not of a clearly established right.3 But Claiborne clearly establishes

      that the Government may not prohibit “nonviolent, politically motivated boy-

      cott designed to force governmental and economic change.” 458 U.S. at 914; see

      also Fla. Gulf Coast Bldg. and Const. Trades Council v. N.L.R.B., 796 F.2d

      1328, 1332 (11th Cir. 1986) (Claiborne “held that the First Amendment pro-

      tects a secondary boycott organized by a civil rights group”), aff'd sub nom.

      Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. and Const. Trades Council,

      485 U.S. 568 (1988); Ray v. Edwards, 725 F.2d 655, 660 (11th Cir. 1984) (“the

      Supreme Court held that the boycott was political activity, protected by the

      first amendment”); F.T.C. v. Super. Ct. Tr. Lawyers Ass’n, 493 U.S. 411, 449

      (1990) (Brennan, J., concurring in part) (describing Claiborne as holding “that

      a civil rights boycott was political expression”). And FAIR, which does not men-

      tion Claiborne at all, did nothing to un-establish Claiborne.

              “[A]n exact factual analogue does not have to exist for a defendant to be

      on notice.” Allred v. City of Carbon Hill, Ala., 13-cv-00930, 2014 WL 5426822,

      at *9 (N.D. Ala. Oct. 24, 2014). “Rather, the applicable standard is whether ‘a


      3
        Plaintiffs reserve the right to challenge on appeal whether qualified immunity is appropriate even were the
      violation not clearly established. Ziglar v. Abbasi, 137 S. Ct. 1843, 1869-72 (2017) (Thomas, J., concurring in
      part) (criticizing qualified immunity).


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reasonable person in the position of the defendant would know he is violating

clearly established law.’” Id. (quoting Hansen v. Soldenwagner, 19 F.3d 573,

578 (11th Cir. 1994)). To satisfy that standard, “preexisting case law, tied to

the precise facts, is not in every situation essential.” Vinyard v. Wilson, 311

F.3d 1340, 1355 (11th Cir. 2002).

      Georgia’s law strikes at that very heart of the First Amendment. It de-

fines the conduct it punishes in terms of disfavored speech. It openly describes

itself as a law prohibiting political boycotts. That this is unconstitutional has

been clearly established.

                                CONCLUSION

      For the reasons stated, Plaintiff respectfully requests the Court deny De-

fendants’ Motion to Dismiss Plaintiff’s First Amended Complaint.




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Dated: October 7, 2020            Respectfully,

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                   CERTIFICATE OF COMPLIANCE

Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing BRIEF IN
OPPOSITION TO DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S
FIRST AMENDED COMPLAINT has been prepared in compliance with Lo-
cal Rule 5.1(B) in 13-point Century Schoolbook typeface.

Dated: October 7, 2020            /s/ Lena F. Masri
                                  BY: LENA F. MASRI

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